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ATTORNEY FOR PLAINTIFFS


                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO

INTERMOUNTAIN FAIR HOUSING          )
COUNCIL, INC., and ELENA            )                            13-473
                                                    CASE NO. CV ____________________
KARBUSHEVA,                         )
                                    )
      Plaintiffs,                   )               VERIFIED COMPLAINT AND
                                    )               DEMAND FOR JURY TRIAL
vs.                                 )
                                    )
REDWOOD APARTMENTS,                 )
REDWOOD APTS. LIMITED LIABILITY )
PARTNERSHIP, GLENDA J. MORTON, )
CAROL WATERFALL, and JANICE         )
I. ALEXANDER,                       )
                                    )
      Defendants.                   )
____________________________________)

       COMES NOW the Plaintiffs Intermountain Fair Housing Council, Inc. and Elena

Karbusheva, and for a cause of action against the Defendants Redwood Apartments, Redwood

Apts. Limited Liability Partnership, Glenda J. Morton, Carol Waterfall, and Janice I. Alexander,

state and allege as follows:

                                  NATURE OF THE ACTION

       1. This is an action brought by the above-named Plaintiffs for declaratory judgment,

permanent injunctive relief, and damages on the following bases:

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           a. Fair Housing Act, 42 U.S.C. §3601 et seq. (hereinafter “FHA”), and in particular:

               i. Discrimination in the sale or rental, or otherwise made unavailable, a dwelling

       because of “handicap”, 42 U.S.C. §3604;

               ii. Discriminatory terms, conditions or privileges in the sale or rental of a

       dwelling because of “handicap”, 42 U.S.C. §3604;

               iii. Making, printing or publishing a notice or statement with respect to the sale or

       rental of a dwelling that indicates a preference, limitation or discrimination based on

       “handicap”, 42 U.S.C. §3604(c); and

               iv. Interference, coercion or intimidation, 42 U.S.C. §3617.

       b. Fair Housing Regulations, 24 C.F.R. §100 et seq.

       c. Negligence.

                                  JURISDICTION AND VENUE

       2. This Court has jurisdiction over this action pursuant to 42 U.S.C. §3613 and

28 U.S.C. §§1331, 1332, 1337, 1343, 1367 and 2201. The amount in controversy exceeds

$75,000 exclusive of interests and costs. Venue is proper in this District in that the claims

alleged herein arose in the City of Boise, County of Ada, State of Idaho.

                                             PARTIES

       3. The Plaintiff Intermountain Fair Housing Council, Inc. (hereinafter “IFHC”) is a

private, nonprofit organization organized under the laws of the State of Idaho with its principal

place of business at 5460 West Franklin Road, Suite M, Boise, Idaho 83705. Its mission is to

advance equal access to housing for all persons without regard to race, color, sex, religion,

national origin, familial status, or disability (the term “handicap”, as that term is used and

defined in the FHA, is used herein interchangeably with the term “disability”). IFHC serves

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housing consumers through, among other things, housing counseling, education on the fair

housing laws and assistance with complaints.

       4. The Plaintiff Elena Karbusheva (hereinafter “Karbusheva”) is an individual residing at

2209 West Idaho Street, Boise, Idaho 83702.

       5. The Defendant Redwood Apartments (hereinafter “Defendant Redwood” or “Subject

Property”) is an unincorporated business doing business in the State of Idaho. Defendant

Redwood is a multifamily apartment complex, is the real property that is the subject of this

proceeding, and is located at 509 South 13th Street, Boise, Idaho 83702. The Subject Property is

a covered dwelling subject to the requirements of the FHA, as provided by 42 U.S.C. §3603.

       6. The Defendant Redwood Apts. Limited Liability Partnership (hereinafter “Defendant

Redwood Apts. LLP”) is a limited liability partnership registered with the Idaho Secretary of

States’ Office and doing business in the State of Idaho. The Defendant Redwood Apts. LLP is of

record with the Ada County Assessor’s Office as the owner of the Subject Property, and its

principle place of business is of record with the Ada County Assessor’s Office as 2866 South

Nephrite Way, Meridian, Idaho 83642.

       7. Glenda J. Morton (hereinafter “Defendant Morton”) is a Partner of the Defendant

Redwood Apts. LLP. Her address of record with the Idaho Secretary of State’s Office is 2866

South Nephrite Way, Meridian, Idaho 83642. The Defendant Morton is of record with the Idaho

Secretary of State’s Office as the Registered Agent for the Defendant Redwood Apts. LLP.

       8. The Defendant Carol Waterfall (hereinafter “Defendant Waterfall”) is a Partner of the

Defendant Redwood Apts. LLP. Her address of record with the Idaho Secretary of State’s Office

is 7684 Galloway Drive, San Jose, California 95135.



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       9. The Defendant Janice I. Alexander (hereinafter “Defendant Alexander”) is a Partner

of the Defendant Redwood Apts. LLP. Her address of record with the Idaho Secretary of State’s

Office is 134 Henderson Street, Eureka, California 95501.

                                 STANDING OF PLAINTIFF IFHC

       10. The Plaintiffs reallege and herein incorporate by reference the allegations set forth in

Paragraphs 1-9 above.

       11. IFHC has suffered damages as the result of the Defendants’ actions and omissions,

including the diversion of IFHC’s past and future resources, lost economic opportunity, and the

frustration of IFHC’s mission.

       12. IFHC’s mission, as described above, has been frustrated by the Defendants’ practices

because the Defendants’ violations of the FHA communicate to housing consumers and housing

providers that discriminatory practices are permissible and that correctional remedies are not

available, thereby hampering IFHC’s efforts to educate the public on fair housing issues and to

advance equal access to housing. IFHC’s mission has further been frustrated as the Defendants’

violations of the FHA have reduced the pool of non-discriminatory rental housing available to

tenants in the State of Idaho.

       13. In order to counteract the frustration of IFHC’s mission, IFHC has had to devote

significant resources to identify, investigate, document and take action to correct the Defendants’

violations of the FHA, including but not limited to the incursion of litigation expenses. As a

result, IFHC has actually diverted resources from other fair housing-related activities, including

fair housing education and enforcement activities throughout the State of Idaho and the

surrounding region. Furthermore, IFHC will necessarily incur additional expenses in the future

to counteract the lingering effects of the Defendants’ violations of the FHA through the

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monitoring of the Defendants’ activities, publication and advertising costs, and the sponsorship

of educational activities.

       14. As a direct result of the Defendants’ actions and omissions as described below, IFHC

is an “aggrieved person”, as that term is defined by the FHA. 42 U.S.C. §3601(i). IFHC has

suffered and continues to suffer significant and irreparable loss and injury, and has sufficient

standing to bring this action before this Court.

                                   GENERAL ALLEGATIONS

       15. The Plaintiffs reallege and herein incorporate by reference the allegations set forth in

Paragraphs 1-14 above.

       16. The Defendants Morton, Waterfall and Alexander are property managers with

regards to the Subject Property.

       17. Karbusheva is an adult refugee from Uzbekistan, her native language is Russian, she

has limited proficiency with the English language, and she is “handicapped”, as that term is

defined at 42 U.S.C. §3602(h) (the words “handicap” and “disability” are used interchangeably

herein). As a result of Karbusheva’s handicap, she is mobility impaired and requires the use of a

cane or a motorized cart as assistive devices.

       18. On or about the 30th day of June, 2011, Karbusheva responded to an advertisement

that an apartment was available at the Subject Property and applied for residency at the Subject

Property at the business office of the Subject Property. At the time she applied for residency at

the Subject Property, Karbusheva was accompanied by Jesse Fessenden, Karbusheva’s case

worker from El-Ada Community Partnership, a non-profit housing advocacy organization

located at 2250 South Vista Avenue, Boise, Idaho 83704 (hereinafter “El-Ada”).



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       19. While applying for residency at the Subject Property and in the presence of Jesse

Fessenden, the Defendant Morton, who was receiving Karbusheva’s application, inquired into

the nature and severity of Karbusheva’s disability, stating that she needs to know this

information because Karbusheva might fall and sue the Defendant Morton and the Subject

Property. The inquiry into the nature or severity of Karbusheva’s disability by the Defendant

Morton is a violation of fair housing regulations. 24 C.F.R. §100.202(c).

       20. Furthermore, the Defendant Morton told Karbusheva that she would not be able to

rent one apartment that was available at the Subject Property because she would not be permitted

by the Defendants to park her motorized cart at that particular apartment. The Defendant Morton

therefore steered Karbusheva to a different apartment at the Subject Property. However, the

Defendant Morton discouraged Karbusheva from renting that other apartment as well, stating

that the motorized cart would not be secure and that she would have difficulty accessing the

apartment in the winter due to icy conditions. Such conduct constitutes discrimination in the

rental of a dwelling, otherwise making unavailable a dwelling, discrimination in the terms,

conditions or privileges of the rental of a dwelling, and steering in violation of 42 U.S.C.

§3604(f).

       21. Ultimately, the Defendant Morton stated to Karbusheva and Jesse Fessenden that she

would not rent to Karbusheva because she is “an insurance liability” as the result of her

disability, and expressly steered Karbusheva to a different multifamily property at a different

location to seek housing. Such statements constitute discrimination in the sale or rental of a

dwelling to a renter, otherwise made unavailable a dwelling, and discrimination in the terms,

conditions, or privileges in connection with such dwelling, because of a handicap in violation of

the FHA. 42 U.S.C. §3604(f). Such statements further constitute notices, statements or

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advertisements with respect to the rental of a dwelling which indicates a preference, limitation,

or discrimination based on “handicap” in violation of the FHA. 42 U.S.C. §3604(c).

       22. Karbusheva and Jesse Fessenden asserted Karbusheva’s right to be free from housing

discrimination and her right to equal opportunity in housing. As a result of that assertion of

Karbusheva’s fair housing rights, the Defendant Morton denied rental housing to Karbusheva

and expressly steered Karbusheva to a different multifamily property at a different location to

seek housing. Such conduct constitutes coercion, intimidation, threat, or interference with

Karbusheva’s exercise or enjoyment of rights granted to her pursuant to the FHA, in violation of

the FHA. 42 U.S.C. §3617.

       23. As a result of the Defendants’ discriminatory conduct, Karbusheva suffered an

inordinate amount of stress, humiliation, and anxiety, and her health significantly deteriorated.

She was forced to continue living in temporary housing at a hotel until she could secure

permanent, non-discriminatory housing.

       24. On or about the 30th day of June, 2011, Dalynn Kuster, an employee of El-Ada,

contacted Zoe Ann Olson, then an attorney at Idaho Legal Aid Services, Inc., on Karbusheva’s

behalf to ask Ms. Olson to intervene with regards to the Defendants’ denial of an apartment to

Karbusheva. As a result, Ms. Olson contacted the Defendant Morton to discuss the matter. Ms.

Olson fully explained the protections of the FHA to the Defendant Morton and that she is

prohibited from inquiring into the nature or severity of an applicant’s disability. During the

course of said conversation, the Defendant Morton admitted to Ms. Olson that she did in fact

inquire into the nature or severity of Karbusheva’s disability because she feels that she has the

right to know such information and because she feels that she is the victim.



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       25. The Defendant Morton further admitted to Ms. Olson that she stated to Karbusheva

that she was concerned that Karbusheva was an insurance liability and that she steered her to a

different multifamily property at a different location to seek housing for that reason. The

Defendant Morton further admitted to Ms. Olson that she had previously denied a loft apartment

to mother with a minor child because she was concerned that the minor child might fall.

       26. On or about the 1st day of July, 2011, the Defendant Morton contacted IFHC to

discuss the matter. Ms. Olson was working at the offices of IFHC at the time and answered the

telephone on behalf of IFHC. Ms. Olson again discussed the matter with her, again fully

explaining the protections of the FHA to the Defendant Morton and that she is prohibited from

inquiring into the nature or severity of an applicant’s disability. Ms. Olson suggested that the

Defendant Morton call IFHC again when a staff member is present and can further discuss the

matter with an employee of IFHC.

       27. On or about the 5th day of July, 2011, the Defendant Morton again contacted IFHC

and discussed the matter with Peggy Sedivy, and employee of IFHC. During the course of her

conversation with Ms. Sedivy, the Defendant Morton inquired into her right to not rent to an

applicant with a physical disability and expressed her concern that such an individual might hurt

herself while residing at the Subject Property and was therefore an insurance liability. She also

admitted that she steered Karbusheva to a different multifamily property at a different location to

seek housing for that reason.

       28. The Defendants have continued to deny housing to Karbusheva because of her

disability and Karbusheva’s right to equal opportunity in housing has thereby been denied by the

Defendants, in violation of the FHA.



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        29. As a result of such discriminatory conduct, Karbusheva filed an administrative

complaint with the United States Department of Housing and Urban Development (hereinafter

“HUD”) on or about the 20th day of July, 2011.

        30. As a result of its investigation of this matter and the discriminatory conduct to which

the Defendants subjected Karbusheva, IFHC filed an administrative complaint with HUD on or

about the 21st day of August, 2011.

            COUNT ONE—DISCRIMINATION ON THE BASIS OF “HANDICAP”
                    IN VIOLATION OF THE FAIR HOUSING ACT

        31. The Plaintiffs reallege and herein incorporate by reference the allegations set forth in

Paragraphs 1-30 above.

        32. The Defendants have discriminated in the sale or rental of, and otherwise made

unavailable and denied, a dwelling on the basis of “handicap”, in violation of the FHA. 42

U.S.C. §3604(f)(1).

        33. The Defendants have discriminated in the terms, conditions and privileges of the sale

or rental of a dwelling, and the services and facilities in connection therewith, on the basis of

“handicap”, in violation of the FHA. 42 U.S.C. §3604(f)(2).

        34. The Defendants made, printed or published notices, statements, or advertisements

with respect to the sale or rental of a dwelling that indicates a preference, limitation or

discrimination based on “handicap”, in violation of the FHA. 42 U.S.C. §3604(c).

        35. Such conduct is continuing and therefore constitutes a continuing violation.

        36. Such conduct is willful and intentional, and exhibits reckless or callous indifference

for the rights of the Plaintiffs.




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  COUNT TWO—INTERFERENCE, COERCION OR INTIMIDATION IN VIOLATION OF
       THE FAIR HOUSING ACT AND ITS IMPLEMENTING REGULATIONS

        37. The Plaintiffs reallege and herein incorporate by reference the allegations set forth in

Paragraphs 1-36 above.

        38. The Defendants have engaged in coercion, intimidation, threat, or interference with

Karbusheva’s exercise or enjoyment of rights granted to her pursuant to the FHA, in violation of

the FHA. 42 U.S.C. §3617.

        39. Such conduct is willful and intentional, and exhibits reckless or callous indifference

for the rights of the Plaintiffs.

       COUNT THREE—UNLAWFUL INQUIRY INTO THE NATURE OR SEVERITY
         OF A DISABILITY IN VIOLATION OF FAIR HOUSING REGULATIONS

        40. The Plaintiffs reallege and herein incorporate by reference the allegations set forth in

Paragraphs 1-39 above.

        41. The Defendants have violated fair housing rights by inquiring into the nature or

severity of Karbusheva’s disability, in violation of fair housing regulations. 24 C.F.R.

§100.202(c).

        42. Such conduct is willful and intentional, and exhibits reckless or callous indifference

for the rights of the Plaintiffs.

                                    COUNT FOUR—NEGLIGENCE

        43. The Plaintiffs reallege and herein incorporate by reference the allegations set forth in

Paragraphs 1-42 above.

        43. The Defendants owed a duty of care to use reasonable care to avoid injury and to

prevent unreasonable, foreseeable risks of harm to the Plaintiffs.



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       44. It could have been reasonably anticipated or foreseen by the Defendants that their

failure to use reasonable care might result in injury to the Plaintiffs.

       45. The Defendants were negligent in that they failed to use reasonable care to avoid

injury and to prevent unreasonable, foreseeable risks of harm to the Plaintiffs by failing to obtain

adequate training and their failure to supervise their agents and employees with regards to the

requirements of the Fair Housing Act, 42 U.S.C. §3601 et seq. and its implementing regulations.

                                             DAMAGES

       46. The Plaintiffs reallege and herein incorporate by reference the allegations set forth in

Paragraphs 1-45 above.

       47. As the result of the actions and conduct of the Defendants, as described above, the

Plaintiffs have suffered significant and irreparable loss and injury.

       48. The Plaintiffs are “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and are

intended beneficiaries of the protections and requirements of the statutes, laws and regulations

referenced above.

       49. Karbusheva has suffered out-of-pocket expenses, embarrassment, humiliation,

deprivation of her civil rights, injury to reputation, pain and suffering, inconvenience, and

emotional and physical suffering as the result of the Defendants conduct.

       50. IFHC has suffered actual damages as a result of its out-of-pocket expenses and past

diversion of its resources, as described above and in the attached “Appendix A”, in the amount of

$31,972.76, which continue to accrue.

       51. IFHC has suffered actual damages as a result of the necessary future diversion of its

resources, as described above and in the attached “Appendix A”, in the amount of $10,000.00.



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       52. IFHC has suffered actual damages as a result of lost economic opportunity, as

described above and in the attached “Appendix A”, in the amount of $1,000.00.

       53. IFHC has suffered actual damages as a result of the frustration of its mission, as

described above and in the attached “Appendix A”, in the amount of $37,058.77.

       54. In addition to the injuries suffered by the Plaintiffs, the Defendants have also caused

significant and irreparable loss and injury to a number of as-of-yet unidentified persons. Such

as-of-yet unidentified victims are “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and

are intended beneficiaries of the protections and requirements of the statutes, laws and

regulations referenced above.

       55. All victims of the Defendants’ actions and conduct should be identified and

compensated through a Victims’ Compensation Fund.

       56. A Victims’ Compensation Fund should be established in an amount to be determined

at trial to adequately compensate identified and as-of-yet unidentified victims of the Defendants’

discriminatory conduct, as described in the attached “Appendix B”, from which such victims

should be compensated. Said Victims’ Compensation Fund should be established and

administered as follows:

              a. IFHC shall be assigned the task of managing and administering the Victims’

                  Compensation Fund. IFHC shall be compensated for all time spent

                  administering said Fund at the rate of $47.57 per hour. IFHC shall keep

                  detailed records of all tasks engaged in and shall submit copies of said records

                  to the Court and the Defendants on a monthly basis.

              b. Within thirty (30) days of the entry of an order by this Court creating a

                  Victims’ Compensation Fund, the Defendants shall deposit in an interest-

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             bearing escrow account the total sum as determined by applying the calculation

             set forth in the attached Appendix B.

          c. Any interest accruing to such Victims’ Compensation Fund shall become a part

             of the fund and be utilized as set forth herein.

          d. Within fifteen (15) days after the Defendants deposit funds in the Victims’

             Compensation Fund, IFHC shall publish a Notice to Potential Victims of

             Housing Discrimination (hereinafter “Notice”) in at least five daily newspapers

             serving the main population centers of the State of Idaho informing readers of

             the availability of compensatory funds. The form and content of the Notice

             shall be approved by the Court at the time of the entry of the Court’s order

             establishing the Victims’ Compensation Fund. The Notice shall be no smaller

             than three columns by six inches and shall be published on three occasions in

             each newspaper. The publication dates shall be separated from one another by

             at least 21 days, and at least two of the publication dates shall be a Sunday.

             IFHC shall send a copy of the Notice prior to each and every publication date

             to each of the following organizations: (1) Living Independent Network Corp.

             (LINC), 1878 Overland Road, Boise, Idaho 83705; (2) DisAbility Rights

             Idaho, 4477 Emerald Street, Suite B-100, Boise, Idaho 83706; Disability

             Action Center, 505 North Main Street, Moscow, Idaho 83843; and (3) Living

             Independently for Everyone (LIFE), P.O. Box 4185, 640 Pershing Avenue,

             Suite 7, Pocatello, Idaho 83201.

          e. Within thirty (30) days of the entry of an order by this Court creating a

             Victims’ Compensation Fund, IFHC shall send by first-class mail, postage

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             prepaid, a copy of the Notice to each tenant who currently resides or who

             resided at any time at the subject property.

          f. Nothing in this section shall preclude IFHC from making its own additional

             efforts at its own expense to locate and provide notice to potentially aggrieved

             persons.

          g. Allegedly aggrieved persons shall have one hundred-twenty (120) days from

             the date of the entry of an order by this Court creating a Victims’

             Compensation Fund to contact IFHC in response to the Notice. IFHC shall

             investigate the claims of allegedly aggrieved persons and, within one hundred-

             eighty (180) days from the entry of an order by this Court creating a Victims’

             Compensation Fund, shall make a preliminary determination of which persons

             are aggrieved and an appropriate amount of damages that should be paid to

             each such persons. IFHC will inform the Defendants in writing of its

             preliminary determinations, together with a copy of a sworn declaration from

             each aggrieved person setting forth the factual basis of the claim. The

             Defendants shall have fourteen (14) days to review the declaration and to

             provide to IFHC any documents or information that it believes may refute the

             claim.

          h. After receiving the Defendants’ refutation, if any, IFHC shall submit its final

             recommendations to the Court for approval, together with a copy of the

             declarations and any additional information submitted by the Defendants.

             When the Court issues an order approving or changing IFHC’s proposed

             distribution of funds for aggrieved persons, the Defendants shall, within ten

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                  (10) days of the Court’s order, deliver to IFHC checks payable to the aggrieved

                  persons in the amounts approved by the Court. In no event shall the aggregate

                  of all such checks exceed the sum of the Victims’ Compensation Fund,

                  including accrued interest and after deducting compensation to IFHC as

                  described above. No aggrieved persons shall be paid until he or she has

                  executed and delivered to counsel for IFHC a signed and notarized statement

                  releasing the Defendants from all claims related to the subject property.

              i. In the event that less than the total amount in the fund including interest is

                  distributed to aggrieved persons, the remaining funds shall be submitted to an

                  education fund to be drawn upon by IFHC and other non-profit organizations

                  for purposes of educating housing consumers and providers on the

                  requirements of the Fair Housing Act. Said education fund shall be

                  administered by IFHC.

              j. The Defendants shall permit IFHC, upon reasonable notice, to review any

                  records that may facilitate its determinations regarding the claims of allegedly

                  aggrieved persons.

       57. The Court should award to the Plaintiffs and against the Defendants punitive

damages due to the intentional and willful nature of the Defendants’ conduct in an amount to be

determined at trial.

       58. The Court should enjoin the Defendants, their officers, employees, agents,

successors, and all other persons in active concert or participation with said Defendants, from

failing or refusing to comply with all requirements of the FHA and its implementing regulations.



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       59. The Court should award to the Plaintiffs and against the Defendants reasonable

attorney’s fees and costs incurred in this action, as provided for by statute and court rule.

       60. The Defendants should be held jointly and severally liable for any and all damages,

including an award of attorney’s fees and costs, awarded in this proceeding.

                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs Intermountain Fair Housing Council, Inc. and Elena

Karbusheva pray that the Court enter judgment against the Defendants as follows:

       A. That the Court find and declare that the actions of the Defendants constitute violations

of the Fair Housing Act;

       B. That the Court award to Karbusheva actual and compensatory damages in an amount

to be determined by the Court to fully compensate her for her out-of-pocket expenses,

embarrassment, humiliation, deprivation of her civil rights, injury to reputation, pain and

suffering, inconvenience, and emotional and physical suffering as the result of the Defendants’

conduct.

       C. That the Court award to IFHC and against the Defendants actual damages in

compensation for its out-of-pocket expenses and past diversion of resources in the amount of

$31,972.76, which continue to accrue;

       D. That the Court award to IFHC and against the Defendants actual damages in

compensation for the necessary future diversion of IFHC’s resources in the amount of

$10,000.00;

       E. That the Court award to IFHC and against the Defendants actual damages in

compensation for IFHC’s lost economic opportunity in the amount of $1,000.00;



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          F. That the Court award to IFHC and against the Defendants actual damages in

compensation for the frustration of IFHC’s mission in the amount of $37,058.77;

          G. That the Court enter an order establishing a Victims’ Compensation Fund an amount

to be determined at trial by applying the calculation set forth in the attached Appendix B and to

be administered according to the terms set forth in Paragraph 56 above;

          H. That the Court award to the Plaintiffs and against the Defendants punitive damages

due to the reckless or callous nature of the Defendant’s conduct in an amount to be determined at

trial;

          I. That the Court enjoin the Defendants, their officers, employees, agents, successors,

and all other persons in active concert or participation with said Defendants, from failing or

refusing to comply with all requirements of the FHA and its implementing regulations;

          J. That the Court award to the Plaintiffs and against the Defendants reasonable attorney’s

fees and costs incurred in this action;

          K. That the Defendants be held jointly and severally liable for any and all damages,

including an award of attorneys fees and costs, awarded in this proceeding; and

          L. That the Court order any further and additional relief as the interests of justice may

require.

                                           JURY DEMAND

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the Plaintiffs demand a

trial by jury on all issues.
                      30th            October
          DATED this _______ day of ___________________________, 2013.
                                                                     /s/
                                                __________________________________________
                                                KEN NAGY
                                                Attorney for Plaintiffs

VERIFIED COMPLAINT AND                         17
DEMAND FOR JURY TRIAL                                                                     KEN NAGY
                                                                                         Attorney at Law
                                                                                         Lewiston, Idaho
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       ZOE ANN OLSON, being first duly sworn on her oath, deposes and says:

        I am the Executive Director of the Intermountain Fair Housing Council, Inc., a Plaintiff
herein, that I have read the foregoing document, know well the contents thereof, and that the
facts therein stated are true to the best of my knowledge and belief.

                                                              /s/
                                             __________________________________________
                                             ZOE ANN OLSON


STATE OF I D A H O    )
                      : ss
           ADA
County of ___________ )

                       Carrie House
                I, __________________________________________,         a Notary Public for said
                                        30th day of ______________________________,
state, does hereby certify that on the _______            October                           2013,
personally appeared before me ZOE ANN OLSON, Executive Director of the Intermountain Fair
Housing Council, Inc. who, being by me first duly sworn, declared that she signed the foregoing
document as such, and that the statements therein contained are true and accurate as she verily
believes.

       SEAL
     CARRIE HOUSE
    Notary Public
    State of Idaho                                 /s/ (Carrie House)
                                             __________________________________________
                                                                                    Idaho
                                             Notary Public in and for the State of ____________
                                                            Boise    ID
                                             Residing at: _______________________________
                                                                         3/1/2019
                                             My commission expires: _____________________




VERIFIED COMPLAINT AND                      18
DEMAND FOR JURY TRIAL                                                                 KEN NAGY
                                                                                     Attorney at Law
                                                                                     Lewiston, Idaho
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ELENA KARBUSHEVA, being first duly sworn on her oath, deposes and says:

        I am a Plaintiff herein, that I have read the foregoing document, know well the contents
thereof, and that the facts therein stated are true to the best of my knowledge and belief.

                                                              /s/
                                             __________________________________________
                                             ELENA KARBUSHEVA


STATE OF I D A H O    )
                      : ss
           ADA
County of ___________ )

                       Carrie House
                I, __________________________________________,         a Notary Public for said
                                        30th                 October
state, does hereby certify that on the _______ day of ______________________________, 2013,
personally appeared before me ELENA KARBUSHEVA who, being by me first duly sworn,
declared that she signed the foregoing document as such, and that the statements therein
contained are true and accurate as she verily believes.

       SEAL
     CARRIE HOUSE
    Notary Public
    State of Idaho                              /s/ (Carrie House)
                                             __________________________________________
                                                                                    Idaho
                                             Notary Public in and for the State of ____________
                                                           Boise,     ID
                                             Residing at: _______________________________
                                                                         3-1-2019
                                             My commission expires: _____________________




VERIFIED COMPLAINT AND                      19
DEMAND FOR JURY TRIAL                                                                 KEN NAGY
                                                                                     Attorney at Law
                                                                                     Lewiston, Idaho
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                                           APPENDIX A:

                   PLAINTIFF IFHC’S MEMORANDUM OF DAMAGES


        The Plaintiff IFHC has identified four categories of damages that it has suffered as the

result of the Defendants’ failure to comply with the FHA. These categories are: (1) Past

Diversion of Resources; (2) Future Diversion of Resources; (3) Lost Economic Opportunity; and

(4) Frustration of Mission. Each of these categories of damages have been recognized and

awarded by various courts to organizational plaintiffs in previous fair housing cases. 1

        The following represents an itemization of the Plaintiff IFHC’s damages:

        1. Out-of-Pocket Expenses and Past Diversion of Resources

        The Plaintiff IFHC has incurred significant pre-litigation expenses as a result of the

Defendants’ discriminatory actions, which are constituted by its out-of-pocket expenses and its

past diversion of resources. The Plaintiff IFHC has sponsored training workshops in the

Defendants’ geographic area, and has engaged in site monitoring, investigation, complaint


        1
         See, Southern Cal. Housing Rights Center v. Krug, 564 F.Supp.2d 1138 (Cent. Dist. Cal.
2007) (fair housing organization awarded $6,590.80 for diversion of resources and $29,065.32
for frustration of mission), Fair Housing of Marin v. Combs, 285 F.3d 899 (9th Cir. 2002) (fair
housing organization awarded $14,217.00 for the diversion of resources); HUD v. Perland, Fair
Housing-Fair Lending Rptr. ¶25,136 (HUD ALJ 1998) (fair housing organization awarded
$4,516 for the diversion of resources and $1,400 for the costs of future monitoring of the
defendants); Ragin v. Harry Macklowe Real Estate Co., 801 F.Supp. 1213, aff’d in pertinent
part, 908 F.3d 898 (2nd Cir. 1993) (fair housing organization awarded $20,000 for the diversion
of resources); HUD v. Jancik, Fair Housing-Fair Lending Rptr. ¶25,058 (HUD ALJ 1993) (fair
housing organization awarded $13,386 for the diversion of past and future resources and $9,000
for the financial opportunity lost as a result of the investigation and litigation of the case); City of
Chicago v. Matchmaker Real Estate Sales Center, Inc., 982 F.2d 1086 (7th Cir. 1992) (fair
housing organization awarded $16,500 for out-of-pocket expenses and costs of future monitoring
and training); Saunders v. General Services Corp., 659 F.Supp. 1042 (E.D. Va. 1987) (fair
housing organization awarded $2,300 for the diversion of resources and $10,000 for the
frustration of its equal housing mission).


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DEMAND FOR JURY TRIAL                                                                      KEN NAGY
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                                                                                          Lewiston, Idaho
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preparation, counseling and other activities with regards to this matter. As a result of these

activities, it has incurred expenses as follows:

       a. Counseling Costs:                                                   $801.01

       b. Investigation Costs:                                                $2,128.98

       c. Educational efforts:                                                $24,429.79

       d. Cost of Deferred Actions:                                           $2,628.98

       e. Litigation costs and fees (as of initiation of formal litigation): $1,984.00

                                       Total Past Diversion of Resources:     $31,972.76
       Further litigation of these matters will result in an increase in the Plaintiff IFHC’s

diversion of resources, as well as other damages.

       2. Future Diversion of Resources

       The Plaintiff IFHC has an affirmative duty to ensure the Defendants’ ongoing compliance

with the FHA, with regards to both the subject property as well as any future developments in

which the Defendants may participate. Such monitoring activities include site visits, training of

Defendants and their employees and agents, counseling of victims, and testing.

       The Plaintiff IFHC expects to incur the following expenses as a result of the current

violations:

       a. Future Advertising Costs:                                           $5,000.00

       b. Cost of future training:                                            $2,000.00

       c. Costs of Future Monitoring/Testing:                                 $3,000.00

                               Total Future Diversion of Resources:           $10,000.00




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DEMAND FOR JURY TRIAL                                                                    KEN NAGY
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       3. Lost Economic Opportunity

       Vigorous investigation and enforcement of fair housing complaints, including the

property at issue herein, has caused the Plaintiff IFHC to divert limited resources and manpower

away from grant-writing activities. The Plaintiff IFHC could reasonably expect to have obtained

funding to sponsor fair housing training events in the amount of $1,000.00 if it had not been so

diverted due to the Defendants’ actions

       a. Loss of Funding:                                                     $1,000.00

       4. Frustration of Mission

       The investigation of the subject of this complaint, the counseling and training provided to

the community, and the preparation of the administrative complaint have caused the Plaintiff

IFHC to divert significant resources toward this proceeding and has undermined the work of

furthering fair housing in the state of Idaho.

       As a direct result of the Defendants’ discriminatory actions, the Plaintiff IFHC’s mission

of furthering fair housing has been significantly frustrated, and the Plaintiff IFHC has had to

devote, and will continue to devote, additional resources in order to counteract the past and

ongoing effects of this discrimination.

       Furthermore, the property at issue in this proceeding has constituted a formidable barrier

to non-discriminatory housing, thereby undermining the mission of the Plaintiff IFHC in

guaranteeing fair housing to all residents of the state. The Plaintiff IFHC has determined that it

will be necessary to educate housing consumers regarding fair housing requirements in order to

counteract the effects of the Defendants’ failure to comply with the FHA.




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DEMAND FOR JURY TRIAL                                                                  KEN NAGY
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       The Plaintiff IFHC measures the damage to its frustration as the total monetary damages

that the Defendants’ actions have cost to correct, including lost funding opportunities.

       a. Frustration of Mission                                            $37,058.77

                                      TOTAL DAMAGES

       The Plaintiff IFHC calculates its total damages in this proceeding as follows:

       1. Out-of Pocket Expenses and Past Diversion of Resources:           $31,972.76

       2. Future Diversion of Resources:                                    $10,000.00

       3. Lost Economic Opportunity:                                        $1,000.00

       4. Frustration of Mission:                                           $37,058.77

                                                     Total Damages:         $80,031.53




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DEMAND FOR JURY TRIAL                                                                  KEN NAGY
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                                         APPENDIX B:

                CALCULATION OF VICTIMS’ COMPENSATION FUND


       I. INTRODUCTION

       In addition to the damages incurred by the Plaintiffs, a number identified and of as-of-yet

unidentified victims have also suffered damages as the result of the Defendants’ discriminatory

actions. In furtherance of the Plaintiff IFHC’s mission, a Victims’ Compensation Fund should

be created in order to identify and obtain adequate compensation for such victims.

       The Federal District Court for the District of Idaho has frequently ordered the

establishment of a Victims’ Compensation Fund in previous actions brought pursuant to the Fair

Housing Act. See, United States of America and Intermountain Fair Housing Council v. Stealth

Investment, LLC, et al., Case No. CV 07-500-E-EJL (Consent Decree entered May 29, 2008

establishing Victims’ Compensation Fund in the amount of $12,500.00); United States of

America v. Taigen & Sons, Inc., et al., Case No. CV 01-337-N-EJL (Consent Order entered July

18, 2006 establishing Victims’ Compensation Fund in the amount of $55,000.00); United States

of America v. Thomas Development Co., et al., Case No. CV 02-68-C-EJL (Consent Order

entered March 11, 2005 establishing Victims’ Compensation Fund in the amount of

$100,000.00); United States of America v. S-Sixteen Ltd. Partnership, Case No. CV 03-154-S-

BLW (Consent Order entered March 14, 2005 establishing Victims’ Compensation Fund in the

amount of $40,000.00); United States of America v. Pacific Northwest Electric, Inc., et al., Case

No. Civil No. 01-19-S-BLW (Consent Decree entered October 21, 2003 establishing Victims’

Compensation Fund in the amount of $29,000.00); United States of America v. Virginia L.

Vanderpool, et al., Case No. CIV 01-78-S-BLW (Consent Order entered April 27, 2002


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DEMAND FOR JURY TRIAL                                                                 KEN NAGY
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establishing Victims’ Compensation Fund in the amount of $30,000.00); United States of

America, et al., v. Duane B. Hagadone, et al., Case No. CV 97-603-N-RHW (Consent Order

entered July 6, 1999 establishing Victims’ Compensation Fund in the amount of $30,000.00).

       Said orders, however, do not contain a description of how the amount of such a fund was

calculated. The Victims’ Compensation Fund that should be ordered herein should be calculated

according to the underlying principles and using the applicable figures set forth below.

       II. UNDERLYING PRINCIPLES

       A. The number of units that are owned and managed by the Defendants is currently

unknown.

       B. The number of months that the Defendants have managed property that is subject to

the requirements of the Fair Housing Act, as of the filing of this complaint, is currently

unknown.

       C. On average, each of the units could be expected to be rented to a new tenant who is

disabled every twelve months.

       D. The U.S. Census Bureau Population Survey of 2000 indicates that, for the state of

Idaho, persons (age 5+) with a disability comprised 13.0% of the population.

       E. The amount of damages awarded to victims of disability discrimination in violation of

the Fair Housing Act in administrative proceedings before the United States Department of

Housing and Urban Development has been $2,500.00 or more (this is a conservative estimate on

the amount of damages that should be awarded to a victim of such discrimination, and is

therefore not intended in any way to be a statement of the damages that are reasonably owing to

individual victims, which instead must be determined on a case by case basis with full

consideration of the facts of each such case).

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DEMAND FOR JURY TRIAL                                                                   KEN NAGY
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         F. The Plaintiff IFHC is the organization best equipped and situated to administer the

fund.

         G. The Plaintiff IFHC should be compensated at its hourly overhead rate of $47.57 per

hour in the administration of the fund.

         H. The number of hours that it will take to administer the fund and complete

compensation of victims can reasonably be expected to be three hours per identified victim.

         I. Administration of the fund will result in the incursion of out-of-pocket expenses, such

as advertising and travel costs, in the amount of at least $100.00 per identified victim.

         III. CALCULATION OF AMOUNT OF VICTIMS’ COMPENSATION FUND

         The total amount of the Victims' Compensation Fund should be calculated as follows:

         a. Step One. The amount of funds that can reasonably be expected to be necessary to

compensate identified victims should be calculated as follows: the total number of units at the

subject property times the total number of months that said units have been subjected to the FHA

divided by twelve (to determine the number of prospective renters who have encountered

discrimination at the subject property) times $2,500.00.

         b. Step Two. The amount of funds that can reasonably be expected to be necessary

incurred by the fund administrator for work performed in administering the fund should be

calculated as follows: the total number of units at the subject property times the total number of

months that said units have been subjected to the FHA divided by twelve (to determine the

number of prospective renters who have encountered discrimination at the subject property)

times three (hours necessary to administer fund per victim) times $47.57.

         c. Step Three. The amount of funds that can reasonably be expected to be necessarily

incurred by the fund administrator for out-of-pocket expenses in administering the fund should

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DEMAND FOR JURY TRIAL                                                                   KEN NAGY
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be calculated as follows: the total number of units at the subject property times the total number

of months that said units have been subjected to the FHA divided by three (to determine the

number of prospective renters who have encountered discrimination at the subject property)

times $100.00.

       d. Step Four. The total amount of the Victims’ Compensation Fund is the amount

determined by adding the results of Step One, Step Two and Step Three.

       The formula described above can be expressed as follows:

            (number of units X number of months rented) X $2,500.00
                                12


       +    (number of units X number of months rented) X 3 X $47.57
                                12


       +    (number of units X number of months rented) X $100.00 = amount of fund
                                12

       3. Calculation of Victims’ Compensation Fund

       Applying the underlying principles, as described above, and the applicable figures, as set

forth above, the victims’ compensation fund should be established in an amount to be determined

at trial once the number of units at the Subject Property and the number of months said units

have been rented is determined in order to compensate identified victims.




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DEMAND FOR JURY TRIAL                                                                 KEN NAGY
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                                                                                     Lewiston, Idaho
